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                                                                                                                  E-FILED
                                                                      Wednesday, 20 September, 2017 05:04:36 AM
                                                                                     Clerk, U.S. District Court, ILCD

                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE CENTRAL DISTRICT OF ILLINOIS
                     SPRINGFIELD DIVISION – ADAMS COUNTY
April Brashier et al                    )
Plaintiffs                              ) The Honorable Judge Sue E. Myerscough
                                        )
V.                                      )Magistrate Judge
Quincy Property, LLC, doing business as )The Honorable Tom Schanzle-Haskins
Welcome Inn” et al.                     )Case # 17 CV 3022

PLAINTIFFS’ RESPONSE TO DEFENDANT AMERICAN MOTELS, LLC., MOTIONS
              TO DISMISS, MOTION TO CHANGE VENUE AND
                  FOR MORE DEFINITIVE STATEMENT

NOW COMES the Plaintiffs, APRIL R. BRASHER, RICHARD M. ORENCIA and CHAD O.

LEBOW individually and on behalf of all others similarly situated, as collective representatives,

by and through their undersigned counsel of record and Responds to the Defendant American

Motels Motions to Dismiss, change of Venue and for More Definitive Statement (Docket

Document # 98-99), and in so doing states the following:

                                        SUMMARY RESPONSE

        In summary, the Plaintiffs find nearly all of Defendant’s American Motels (AM)

arguments invalid, some of the Defendant’s claims are clear misrepresentations1, and many are

argued via willful blindness to the detailed pled facts while still other parts of the 12B6 Motion

contain falsehoods as to what is and is not found in the pleadings.

        Defendant AM’s false filings are the result of AM ignoring clear and repeated facts found

throughout the Plaintiffs’ pleadings. For example AM repeatedly claims there is no FLSA

jurisdictional facts, but Defendant fails to reference or even mention the substantial facts

showing Defendants sales of items of commerce. (See Plaintiffs’ Third Amended Complaint and

attached Exhibits; ¶¶ 71-100, Exs. 12 and 19). Defendant also ignores that Plaintiff plead as an


1
 Plaintiffs’ Complaint is exceptionally detailed, packed with factual information and attached Defendant AM own
business records to demonstrate that Defendant AM is sufficiently plead as a Defendant.


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alternative for Jurisdiction, that Defendant AM has sales of more than $500,000. (¶¶ 65-67).

Defendant’s “head-in-the-sand” argument that “no jurisdictional facts are pled” is improper and

ethically questionable at best and Sanctionable at worse. (as Defendant filed a false document).

       On Venue and Jurisdiction in Illinois, while Plaintiffs believe Venue is proper in Illinois

and Jurisdiction could be established over AM based on the Joint employer and/or Single

Employer theories; Plaintiffs’ are willing to agree to a transfer to the Western District Court of

Missouri as demanded by Defendants, again to conserve Judicial Resources. While Defendant

asks for dismissal2, 28 USCA Section 1406(a) states that transfer should be done “in the interest

of justice”, rather than dismissal. Here the interest of justice should allow for transfer, as

Plaintiffs claims are clearly meritorious and justice is served in insuring low wage employees are

paid properly and in accordance with the FLSA

                              SUMMARY OF MOTION AND MEMO

       Defendant’s AM’s Motion (Docket Document #98) and AM’s Memorandum of Support

(Docket Document #99; hereinafter “Memo”) are a series of rambling circular arguments

detached from the reality of the filed complaint. For example, AM repeatedly claims that there is

no jurisdictional facts (Memo pgs. 3-4, 6-8, and 10-11) when Plaintiff has plead both types of

jurisdiction for FLSA coverage in great detail. (¶¶ 43-100) and supported with Defendants own

business records (Exs. 12 and 19).

       The reality is that the Plaintiff has filed a highly detailed and lengthy complaint (based on

complexity of the claims, Defendants repeated demands via 12B6 Motions and Defendants’ own

requests for Amendment (on two occasions)). In Plaintiffs’ counsel’s experience an average


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          However Plaintiffs’ point out that such a move will increase Plaintiffs’ costs and fees
substantially, but as Defendants demand created that move, thus Defendants will be responsible
for the increased fees/costs when and if a fee petition is allowed.


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FLSA complaint is 3-5 pages long, citing facts in general nature, in contrast Plaintiffs have filed

a long complaint, (largely due to the complex claims of misclassification and/or Defendants

demands), in which the facts supporting the claims are described in great detail.

       Given the rambling nature of the Motion and Memo Plaintiffs’ counsel struggles to

respond to the shot-gun blast of circular arguments found in the Defendant’s 23 pages. Plaintiff

asks the court to allow for further Response or Amendment should one or more arguments be

unanswered, as the Defendant’s memo appears to be designed to cause Plaintiff miss the

arguments, rather than simply stating them and allowing for decision by direct argument.

        Plaintiff will begin with an organized response by subject, then Plaintiffs’ will attempt to

respond to the specific complaints.

                                                Summary

       Defendant’s circular arguments repeat on broad issues as follows:

       1) False claims of “no Jurisdictional Pleadings” (Memo 3-4, 6-8, 10-11)
       2) Claims of insufficient Single Employer pleadings (Memo 3, 5, 6)
       3) Claims of insufficient Joint Employer Pleadings (Memo 3, 5, 6, 11, 13-14)
       Plaintiffs’ respond to each of these multiple page argument in summary as follows:

                                            JURISDICTION

       For the FLSA to be applicable the employee must show either: (1) "individual" coverage,

meaning that she is "engaged in commerce or in the production of goods for commerce," or (2),

"enterprise" coverage, meaning that she is "employed in an enterprise engaged in commerce or in

the production of goods for commerce." 29 U.S.C. 5 207(a)(1): see Tony & Susan Alamo

Found, v. Secretary of Labor. 471 U.S. 290 at 295, 105 S. Ct. 1953. 85 L. Ed. 2d 278 (1985)

("Employment may be covered under the Act pursuant to either 'individual' or 'enterprise'

coverage.").



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       Thus there are TWO methods of establishing FLSA Jurisdiction: 1) Individual or 2)

Enterprise. Plaintiff plead both types of jurisdiction and in detail. (For Individual see ¶¶ 71-100

and for Enterprise see ¶¶ 48-70).(See also Exs. 14 and 19)

                                                   Individual

Under "individual" coverage, an individual is covered by the FLSA if he or she has either "engaged in

commerce or in the production of goods for commerce." 29 U.S.C.§ 207(a)(1). Divins v. Hazeltine

Electronics Corp., 163 F.2d 100 at 101 (2d. Cir. 1947)(quoting Walling v. Jacksonville Paper Co.,

317 U.S. 564 (1943)). In other words, the work must be related to the movement of persons or things

(including intangibles such as information and intelligence) between states. 29 C.F.R. § 779.103; see

Kaurv. Royal Arcadia Palace, Inc., 643 F. Supp. 2d 276 at 292 (E.D.N.Y. 2007). Very little is

needed to qualify as "engaged in commerce." For example, a court found an employee who received

11-23 monthly shipments from across state lines was engaged in commerce, despite spending only 30

minutes per week on them. Wirtz v. Durham Sandwich Co., 367 F.2d 810 at 811 (4th Cir. 1966).

       Here, Plaintiffs have pled more than sufficient facts to support Individual Jurisdiction.

Plaintiffs’ have pled that they sold items from retail stores in each of the Defendants locations for the

Defendants and to the ultimate consumer. (¶¶ 71-95). Plaintiffs have supported that fact via

photographs of these actual stores selling retail items to consumers taken from the Defendants’ own

websites and lists of retail items taken from Defendants own handbook. (¶¶ 78-79; Exs. 12 and 19).

Despite these highly detailed facts, Defendant AM has filed a false claim with this court claiming

Plaintiffs have not pled jurisdiction. (Memo 3-4, 6-8, 10-11)

       District Courts in this District have applied coverage to include mere “use of items” that

moved in Commerce. “It is clear that the legislative history demonstrates that Congress

intended to extend the coverage of the FLSA to companies that use products that have moved



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in interstate commerce”. Radulescu v. Moldowan, 845 F. Supp. 1260 at 1264 (N.D. III. 1994). In

Radulescu the court cited to use of laundry soap by a maintenance worker, similar to cleaning

products being used by maids, as a Jurisdictional Coverage fact taken directly from the

Congressional Record (Id citing Senate Report No. 93-690).


       Chief Judge Moran continues:


           “Since 1974, courts facing the issue presented here have unanimously come
   to the same conclusion: local business activities fall within the reach of the FLSA
   when an enterprise employs workers who handle goods or materials that have moved
   or been produced in interstate commerce. Dole v. Odd Fellows Home Endowment
   Board, 912 F.2d 689, 695 (4th Cir.1990); Donovan v. Pointon, 717 F.2d 1320,
   1322-23 (10th Cir. 1983); Marshall v. Brunner, 668 F.2d 748, 752 (3rd Cir.1982);
   Donovan v. Scoles, 652 F.2d 16 (9th Cir.1981), cert. denied, 455 U.S. 920, 102
   S.Ct. 1276, 71 L.Ed.2d 460 (1982); Dole v. Bishop, 740 F.Supp. 1221, 1225
   (S.D.Miss.1990); Conway v. Takoma Park Volunteer Fire Dept., 666 F.Supp.
   786, 791 (D.Md.1987); Marshall v. Davis, 526 F.Supp. 325, 328 (M.D.Tenn.1981);
   Marshall v. Baker, 500 F.Supp. 145, 151 (N.D.N.Y.1980); Marshall v. Whitehead,
   463 F.Supp. 1329, 1336-38 (M.D.Fla.1978).”


       In another example, a local cleaning company was an enterprise because its "maids

handled goods that traveled in interstate commerce," such as "cleaning products not

manufactured in Illinois." Harris v. Skokie Maid & Cleaning., 2013 WL 3506149, at *5 (N.D.

Ill. July 11, 2013). Here Plaintiffs have alleged use of items from the Commerce. (¶¶ 96-100).

       The employees also may be engaged in interstate commerce if they are involved in distributing

or selling goods upstream - that is, before the goods reach the ultimate consumer. Johnston v.

Spacefone Corp., 706 F.2d 1178 at 1182-1184 (11th Cir. 1983); Kelley v. Stevens Auto Sales, 2009

WL 2762765 (N.D. Ind. 2009). Again here Plaintiffs have clearly and in detail pled that they sold

goods TO the consumer: IE: AM purchases items from Sam’s Club (¶ 95), and brought them to the

Defendants’ retail stores (Id), stocked the stores and SOLD them to the ultimate consumer, (generally

guests of the Motel). (¶¶ 71-93).


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       Plaintiffs filed detailed descriptions of AM’s participation in Commerce, AM sells items

from and to the stream of commerce, and attached proof as Exhibits. (¶ 71-96; Exs 12 and 19). 1)

sales of items in Commerce (¶ 74- 95) 2) use of items in Commerce as part of Lebows security

duties (¶ 96, 100), and 3) placing ads on “Craigslist” and creating marketing materials, (¶ 104,

111, 245), Lebow also sold items in Commerce and placed ads on Craigs list (¶ 245-250) Yet

AM wastes the time of this court by pretending such pleadings do not exist.

                                                Enterprise

       Plaintiffs also have pled, as a clear alternative, jurisdiction via Enterprise coverage. (See

¶¶48-70). An "enterprise" refers to the related activities performed by any persons for a common

business purpose. 29 U.S.C. S 203(0)(1). An "enterprise" must have an annual gross volume of

sales made or business done of not less than $500,000. 29 US C 6 203(s)(i)fA)(n). Richardson v.

Help at Home, LLC, 2017 U.S. Dist. LEXIS 73334 *5-6 (ND Ill. 2017)

       Here Plaintiffs plead that Defendants have more than $500,000 in sales, (¶¶ 48-70) thus the

Motion by AM is based on the false claim that no such pleading are filed by Plaintiffs. Thus Defendant

Motion should be Denied.

       Plaintiffs original complaint plead this in a general manner (See Docket Document #1),

Plaintiffs’ subsequent complaints repeated that pleading. (Docket Document #4 and 16). In

Defendant AM’s first 12B6 motion Defendants ignored this pleading, leading Plaintiff to provide

in the Third Amended Complaint extensive pleadings that sales by ALL Defendants (including

AM) were in excess of $500,000.00, thus Enterprise Coverage was properly pled and Defendant

AM clearly was on Notice via the repeated pleadings and increased jurisdiction facts.

       Defendants also flippantly claim that Plaintiffs confuse Enterprise Coverage with

employment relationship, (Memo 11). This undeveloped argument should be ignored. However,




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Plaintiff disagrees with the implication that facts can not be co-supportive. Facts which support

the Enterprise coverage can also easily support employment relationship. A pled fact for

enterprise coverage, such as fact that Plaintiff sold items in retail (¶ 94-95) also show Plaintiffs’

work duties for AM ie: employment..

        Further the Defendants appear to be splitting hairs, demanding jurisdictional facts

employee by employee, this is improper also "all of the employer's employees are covered under

[FLSA] as long as at least some handle, sell, or otherwise work on goods or materials that have

been moved in or produced for commerce." Jones v. E. Brooklyn Security Services Corp., No.

11-CV-1021, 2012 WL 3235784, at *4 (E.D.N.Y. Aug. 7, 2012) (quoting 29 U.S.C. §

203(s)(1)(A)). Courts have found this element satisfied where employees "merely handled

supplies or equipment that originated out-of-state." Rodriguez v. Almighty Cleaning, Inc., 784

F.Supp.2d 114, *354 120 (E.D.N.Y.2011). Enterprise coverage "applies so long as some of the

employees wear uniforms or use items such as radios, books, flashlights, clipboards, brooms,

bags, and cleaning supplies that have moved in interstate commerce." Archie v. Grand Cent.

P'ship, 997 F.Supp. 504, 531-32 (S.D.N.Y.1998) (listing cases)).

                          JURISDICTION TO BE BROADLY APPLIED IN FLSA

        As with most FLSA coverage questions, courts are very careful about exempting employees, and the

Supreme Court has held that courts should assume that federal law was intended to apply to the farthest reaches

of interstate commerce. Walling v. Jacksonville Paper Co., 317 U.S. 564 (1943). See also Atlantic

Coast Line R. Co. v. Standard Oil Co. of Kentucky, 275 U.S. 257 (1927); Project Hope v.

M/VIBN SINA, 250 F.3d 67 (2d Cir. 2001).

        The 1961 amendments to the FLSA added "enterprise" coverage to the FLSA in Sections

203(r) and 203(s), significantly broadening the number of employees covered by the FLSA. Under

"enterprise" liability, the employee does not need to be directly involved in an activity that affects


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interstate commerce. Wirtz v. First National Bank & Trust Co., 365 F.2d 641 at 644-645 (10th Cir.

1966); Archie v. Grand Central Partnership, Inc., 997 F. Supp. 504 at 528-530 (S.D.N.Y.

Sotomayor 1998)(citng Radulescu v. Moldowan, 845 F. Supp. 1260 (N.D. III. 1994))

                                    Single Enterprise/ Single Employer

       Defendant also repeatedly claims that there is insufficient facts to establish the Plaintiff’s

legal theory of Single Enterprise. (Memo 3, 5, 6). This claim is also wrong.

       To qualify as an employee for purposes of the FLSA, one must perform "work" for an

"employer." Berger v. National Collegiate Athletic Ass'n. 843 F.3d 285 at 290 (7th Cir. 2016)

(citing 29 U.S.C. 55 203(e)(1). 2_Q3(o)). Here Plaintiff Lebow alleged that he performed work

for ALL Defendants (¶¶ 92, 95, 126, 137-138) including AM. (¶ 95-96, 100, 104, 111).

       Under the FLSA, the plaintiff bears the burden of establishing that she performed work

for an employer and is therefore entitled to compensation. Berger v. National Collegiate

Athletic Ass'n. 843 F.3d 285.at 290 (7th Cir. 2016). To survive a motion to dismiss, an FLSA

plaintiff must allege facts, taken as true, establishing that she was an employee and performed

work for the defendants. Id. Again Plaintiff Lebow has done that, Plaintiff Lebow alleged that

he performed work for ALL Defendants (¶¶ 92, 95, 126, 137-138) including AM. (¶¶ 95-96, 100,

104, 111, Exs. 14-15). Further the Single Employer/Enterprise Allegations are not insufficient,

rather are extensive, detailed and supported by Defendants’ business records. (¶¶ 101-138, 245-

250, Ex 13-17, 20)

                                           JOINT EMPLOYER

       Defendant also claims of insufficient Joint Employer Pleadings (Memo 3, 5, 6, 11, 13-

14). This is also incorrect. The test for joint employer liability is to look at all facts surrounding

the defendant's supervision or the employee and determine whether the defendant exercised



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control and authority over the employee in a manner that caused the FLSA violation (at least in

part). Schneider v. Cornerstone Pints. Inc.. 148 F.Supp.3d 690 at 698 (N.D. III. 2015).

           Here Plaintiff Lebow has pled that he was under the supervision, control and authority of

ALL Defendants, (¶¶74, 92, 95-96, 100, 104, 126, 137-138, 245-254) including Defendant AM.

(¶¶ 95-96, 100, 104, 111, Exs. 14-15). Thus Plaintiff Lebow3 has alleged far more than what is

required under the Notice Pleadings standard for Federal Court. Thus Plaintiffs ask that

Defendant AM’s Motion be Denied.

           SECTION II – AM’s Claims of “Conclusory allegations” are absurd

           AM’s first substantial section of its Memo claims that the Plaintiffs’ 64 page Complaint,

containing 366 paragraphs with 20 attached exhibits is, somehow, “conclusory”. This claim is

absurd. Plaintiffs have pled in high degree of detail facts not only to support the claims but

sufficient facts to win portions of the case (such as insufficient wages paid under Exemption

rules).

           AM next makes a claim that Plaintiffs’ provide no “details” that AM is a Single

Employer and/or Joint Employer, (Memo 3). AM then claims (without citation) that the

Complaint facts as to Joint/Single Employer are mere “legal conclusions” (Memo 3), this is

further absurdity, Plaintiffs complaint contains plenary support for both. The Plaintiffs’

pleadings on the subject begin at paragraph 101 and end at paragraph 138.

           In those 37 paragraphs Plaintiffs allege specific facts including the following:

                 That Plaintiff Lebow was paid by ALL Defendants including Defendant AM. (See
                  ¶105 a-h and Complaint Exhibits 2-9).
                 That Lebow performed work for ALL Defendants, including AM, by placing ads
                  on Craigslist and creating marketing materials. (¶104, 111, 126, 245, 247).
                 That all Defendants are in the same business (¶ 113).


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    The other Plaintiffs did not pled under this theory. (¶ 103)


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            That Defendants “share employees’ services, in that both corporations operate
               under the same management and facilities, and employees for one corporation
               does work for and by direction of the other corporations” (¶ 117).
            That orders by Managers cite multiple Defendants including AM (¶ 118).
            That AM’s Handbook cites ALL Defendants (including AM), (¶ 119).
            That Defendants own filings support this as individual Defendant Logan testified
               he managed multiple Defendants (¶ 119-122).
            That managers manage more than one location (¶ 123).
            That payment of bills from one to another Defendant occur regularly (¶ 127).
            That employees work at multiple Defendant locations (¶¶ 128-129).
            That Defendant use of a single mailing address for all Defendants (¶ 130).
            That Defendants use of a single software system (¶ 132).
            that the Handbook includes a screen shot of the shared system (¶ 133 and Ex. 17),
            That the shared system was used by ALL Defendants including AM (¶ 134).
            That Defendant use a common website, for marketing (¶ 135).
            That a shared website has links to all Defendants (including AM, though the name
               on the web-site is not American rather is ‘Welcome Inn”). (¶ 135 and Ex. 13).
            That Plaintiff Lebow’s shared job duties included that he received instructions
               from ALL Defendants (including AM). (¶ 136 and Ex 14).
            That the shared work is proven by Lebow’s attached work product (¶ 136 Ex. 15)
            and Lebow sold items in Commerce and placed ads on Craig’s list (¶¶ 245-250)
        Despite these extensive pleadings, Defendant AM pretends these highly specific facts do

not exist. Such willful blindness is an ethical lapse by Defendants, as they have a duty to read

and object to the lack of facts, not ignore facts.

        Next AM circles back claims that Lebow’s pleading lack “job duties”. Again this is a

deception. Plaintiff Lebow’s job duties are explicitly and exactly detailed and include: 1) sales of

items in Commerce (¶¶ 74-95) 2) use of items in Commerce as part of Lebow’s security duties

(¶¶ 96, 100), and 3) placing ads on “Craigslist” and creating marketing materials, (¶¶ 104, 111,

245-250; Ex 14), 4) that Lebow tracked the activity for all Defendants on a form called a

“Craigslist Tracker” which listed activity for all Defendants. (¶ 138 and Exhibit 15).

        AM next claims that he never identifies “job title, ..assignments,.. policies,

communication” he received from AM. This is also false, as Plaintiff repeatedly stated that he




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received orders and communications from ALL Defendants including AM. (¶¶ 104, 126, 137-

138 245; Exs 14-15,).4

         AM next complains of the lack of Lebow’s “job title”, (Memo 4) but cites no case which

holds the lack of a Job Title is dispositive. In contrast Plaintiff cites to the DOL regulations,

which specifically state that that titles are of little import in determination of exempt status. See

US DOL Regulations section 541.2

         In the same breathless sentence AM complains cryptically “….any details about any

recurring specifics beyond his assertion of having a 40 hour work week for which he claims he

was compensated on a salaried basis” (Memo 4). Frankly Plaintiffs’ counsel is not even sure

what the complaint is as the sentence is rife with fluff, but fails to state what the problem is. As

best counsel can determine Defendant AM wants a minute-by-minute description of Lebow’s

work day. Again this is NOT fact pleading court, Plaintiff Lebow described his work duties, but

does not have to plead that on “day one, minute one of my work day I performed this task….”.

Such demands are inconsistent with Notice Pleadings.

         Next AM’s mire of complaints swirls to Lebow’s retaliation claim. (Memo 4), ignoring

yet again that the joint and/or single employer theories means that a retaliation by one is

retaliation by all. The next sentence whirls to the paychecks issued by Defendants falsely

claiming that American Motels LLC., checks were not issued by American Motels LLC (see

Memo. 4 and Ex. 7) and Defendant then cites the wrong Exhibits (citing 19-20 and non-existent

exhibit 30) and the wrong d/b/a (AM is d/b/a “Welcome Inn”, see any case caption). Thus again

Defendant’s 12B6 motion should be denied, as it is not based on the real pleadings.


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  While Defendant want Plaintiff to provide some type of written orders only in AM’s name, Defendants created an
group of companies specifically to hide their illegal actions and to argue that there is no direct communication, thus
if there is a fact-pleading requirement for such communication this would be encourage this Defendant and others to
hide behind a spider-web of entities, rather than operating as Defendants should as a good corporate citizen.


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                                              VI B – Standing

       On Page 10 AM switches to re-argue Jurisdiction yet again, this time claiming that

Plaintiffs have “no standing” to bring claims under FLSA (Memo 10-11). Defendant supports

this vague claim with a string of cases. Defendant’s error here is that the cited cases, nearly all of

them are out of this District Court/Circuit Court (5th Cir., DC Tenn., ED NY, and 11th Cir).

Second and more importantly most of the cases are Summary Judgment Decisions, which are not

comparable, as those cases had full discovery or at least Jurisdictional Discovery.

       Sobrinio v. Medical Center Vistor’s Lodge, 474 F.3d 828 and Davis V. Patel 2016

LEXIS 103303, are clearly Summary Judgment decisions. While Patel v Wargo 803 F.2d 632

also appears to be a Summary Judgment decision (though the holding is not entirely clear).

Lastly, Siemieniewicz v. CAZ 2012 US LEXIS 152379 merely held that conclusory allegations

are insufficient, here Plaintiffs’ FLSA Coverage pleadings are not conclusory. (see above)

       C. OVERTIME /JOINT EMPLOYMENT

       Defendant AM next focuses on the Plaintiff’s “Brashier, Randall and Orencia”. (Memo

11). Firstly Plaintiffs are unsure who Plaintiff “Randall” is. Plaintiffs’ cited Randall as a

similarly situated employee, (¶¶14-20) but as of yet he is not a Plaintiff nor filed a FLSA

Consent. (see Docket).

       On page 13 of the Memo Defendant AM oddly claims that Plaintiffs plead a “joint

employment”. (13), this is peculiar as Plaintiffs Brashier and Orencia specifically and explicitly

plead that they were NOT pleading joint employment.

               103.    Plaintiffs’ Brashier and Orencia were employed by Defendant Quincy
                    Property, and withdraw the claim of joint-employment by the other
                    corporate Defendants, but maintain that the web of Defendants operate as a
                    “Single Employer” for purposes of FLSA coverage and/or FLSA notice and
                    maintain that the individual Defendants are employers of Plaintiffs under
                    FLSA and IWPCA. (emphasis added)



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       Thus AM’s Motion claiming that Plaintiffs were pleading joint employment (Memo 11-

13), shows a lack of complete review of the Pleadings.

       On page 12 Defendant asks for dismissal from Count I of the Complaint claiming falsely

that there are a “total absence of such allegations…”. Again this is absurd, Defendant is ignoring

that Count I incorporates into it the entirety of the Complaint. (¶ 277), thus Count I is full of

supporting facts too many to mention. (see Plaintiffs’ Third Amended Complaint ¶¶ 1-377, Exs.

1-20). At a minimum Plaintiff Lebow was paid by American Motels, LLC., (Ex. 7), clearly

performed work for American (listed as BS Welcome Inn) (Ex.15) and received written

instruction from American (Ex. 14). And FLSA Jurisdiction was pled in spades. (For Individual

see ¶¶ 71-100 and for Enterprise see ¶¶ 48-70). Defendant then returns to Plaintiffs’ Brashier and

Orencia claiming lack of control (Memo 12) and again misrepresenting that Plaintiffs Brashier

and Orencia pled joint employment (Memo 13), again Defendant ignores the detailed single

employer pleadings.(¶¶101-138,245-250, Ex 13-17,20) and misrepresents the pled theory (¶ 103)

                                Defendant Section D. – Lebow retaliation

       Next AM switches back to the retaliation count by Lebow. (Memo 13-14) Defendant AM

bemoans that Plaintiff is not isolated “on one side” while Defendant AM is on “the other”.

(Memo 13). This is an odd complaint, that somehow, Lebow is somehow supposed to force from

AM a statement that the retaliation is only by AM. Such demands by AM are an incongruity

given the Mulligans stew of interwoven Defendants.

       In more direct response AM also claimed that there is lack of pleadings as to duties and

communications by AM. (Memo 13). Firstly, Plaintiff Lebow pled that the Defendants were/are

a Mulligans-stew and that all the Defendants communicated to him. (¶ 137). Lebow even



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specially pled that the communications were from ALL Defendants and that this was

demonstrated by instruction sheet from ALL Defendants (See Ex. 14) and demonstration of

duties for all. (Ex 15). Yet Defendant AM claims no such pleading. Lastly Plaintiff’s duties were

described in at least 37 paragraphs (¶ 104-126 245, 247) Lebow also sold items in Commerce

and placed ads on Craig’s list (¶ 245-250).

       Defendant also claims that the pleadings lack facts as to “knowledge of complaint”, this

is also wrong. Lebow plead that he complained about failure to pay overtime, (¶¶ 360-361), and

he received retaliation (¶ 363). Plaintiff specifically named ALL Defendants, both as to

knowledge, and effect. (¶ 366)

       Defendants also read Count V in complete isolation, (Memo 14), arguing that there is no

joint employment allegations, (Memo 14), this argument again ignores the incorporation

provision (¶ 357), which means all the above facts are found in Count V. AM pretends this

common legal pleading does not exist and demands the entire complaint be added into Count V.

                    ARGUMENT ON MOTION FOR MORE DEFINED STATEMENT

       Defendant closes on page 15 by claiming again that it is baffled by the pleadings asking

for a more defined statement. (Memo 14). This request is also frivolous. As stated, the complaint

is detailed, long, full of information fact and theories, Plaintiff attached 20 exhibits. If Defendant

is unable to understand the claims, Defendant fails to explain what is lacking.

       Defendant again repeats that the Complaint does not “name the party”, this argument is

based only on the Defendants failure to read the word “Defendants” to include themselves.

Defendants appear to demand that every fact, (all 336 of them) be plead separately for each

Defendant, thus each fact would include a separate paragraph for all 11 Defendants, thus 336

facts X 11 = 4,026 facts.




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       AM also claims that “it should not have to guess” who is referred to, and Defendant does

not have to do so, if the word “Defendants” appears, that includes AM.

       Courts have considered 12(e) Motions narrowly and with disfavor. Vician v. Wells Fargo

Home Mortg., No. 2:05-CV-144, 2006 WL 694740, at *9 (N.D. Ind. Mar. 16, 2006) [T]he basis

for requiring a more definite statement under Rule 12(e) is unintelligibility, not mere lack of

detail." Burnett v. Al Baraka Inv. and Development Corp., 274 F. Supp. 2d 86, 110

(D.D.C.2003). FRCP 12 (e) motions are "designed to strike at unintelligibility rather than simple

want of detail. Rahman, 501 F. Supp. 2d 8, 19 (D.D.C. 2007), Courts in this District have found

it improper to “engage in a piecemeal dissection” of a complaint); Woodson v. Cook County

Sheriff, 1996 WL 604051, *5 (N.D. Ill. Oct. 18, 1996).

       Here in the case-at-hand, Plaintiffs have not filed an unintelligible complaint, rather

Plaintiffs have filed a detailed complaint with plenary facts supporting the primary claims, the

underlying joint-employment, the single employer theory and individual liability.

        “If a defendant is uncertain about the scope of the plaintiff's legal theories, the proper

response is to serve contention interrogatories, not move for a more definite statement under Fed.

R.Civ.P. 12(e) as defendant suggests.” Spacesauer Corp. v. Marvel Group, Inc., 621 F. Supp.

2d 659, 662 (W.D. Wis. 2009); citing to Vidimos, Inc. v. Laser Lab Ltd., 99 F. 3d 217, 222

(7th Cir.1996). Here, in the case-at-hand, Defendants clearly understand the theories, as counsel

have held extended discussions of the claims with Defendants’ Attorneys. Further, the filed

motions lack any specifics to explain why Defendants are so “confused” and unable to answer.

       Plaintiffs previously provided more extensive response to this request, Plaintiffs ask the

court to consider those filings in response to this renewed request.




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WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that this
Honorable Court to enter an Order
   1) Deny Defendant Motions and require Defendant AM to Answer the complaint;
   2) Other relief that is just and right
                                              Respectfully submitted,
                                             /S/ John C. Ireland

                                             Dated September 20, 2017
John C. Ireland
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                                         PROOF OF SERVICE
        The undersigned on oath states that the above document were served by US Mail and/or
       electronic delivery to the attorney of record on September 20, 2017.

       I, John C. Ireland, under penalty of perjury under the laws of the State of Illinois that the
       forgoing was correct and true.

       ________/s/_____John C. Ireland_______________
            Date   John C. Ireland


John C. Ireland
Lead counsel for purposes of RULE 11.2 DESIGNATION OF LEAD COUNSEL ON
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